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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION


                                                           Action No: 3:22-cv-00049
   Baby Doe, et al                                         Date: 10/10/2023
                                                           Judge: Joel C. Hoppe, USMJ
   v.
                                                           Court Reporter: Karen Dotson,
   Joshua Mast, et al                                      Cisco Conference Manager
                                                           Deputy Clerk: Karen Dotson



   Plaintiff Attorney(s)                           Defendant Attorney(s)
   Lewis Franklin Powell , III                     Michael Lee Francisco
   Maya Miriam Eckstein                            David Eliezer Yerushalmi
   Jeremy Carlton King                             Michael Roger Hoernlein
   Sehla Ashai                                     Samantha Lynn Van Winter
   Ehson Kashfipour                                Brennan Tyler Brooks
                                                   Sidney Webb
                                                   Caitlin Parry Contestable, interested party
                                                   Dan Backer, interested party



  PROCEEDINGS:
  Telephonic Motions Hearing:
  Doc #230 – MOTION to Compel Production of Documents by Joshua and Stephanie Mast by
  Baby Doe, Jane Doe, John Doe
  Doc #237 – MOTION to Stay Discovery by Joshua Mast, Stephanie Mast.
  Doc #256 – First MOTION to Quash Subpoena or for Entry of a Protective Order by Pipe Hitter
  Foundation, Inc.
  Doc #289 - Supplemental MOTION to Compel by Richard Mast


  Parties argue [237] Motion to Stay Discovery
  Court denies Motion to Stay, written order to follow
  Ms. Eckstein argues [230] Motion to Compel
  Argument by Mr. Francisco
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  Court grants Motion to Compel, written to follow
  Mr. Yerushalmi argues [289] Supplemental Motion to Compel
  Argument by Ms. Eckstein
  Court will issue written order
  Ms. Contestable argues [256] Motion to Quash or for Protective Order
  Argument by Mr. Powell and other counsel
  Written order to follow
  Parties discuss trial dates
  Trial to be set in September



  Time in Court: 11:03-1:13=2 hours and 10 minutes
